     Case 3:18-cv-01063-AJB-AGS Document 131 Filed 07/25/19 PageID.2515 Page 1 of 1


 1
 2
 3
 4
 5
 6                            UNITED STATES DISTRICT COURT
 7                           SOUTHERN DISTRICT OF CALIFORNIA
 8
 9     ANTON EWING,                                       Case No.: 18-cv-1063-AJB-AGS
10                                       Plaintiff,
                                                          ORDER SUA SPONTE STRIKING
11     vs.                                                DECLARATIONS OF ANTON
       8 FIGURE DREAM LIFESTYLE, LLC,                     EWING AND KIMBERLY A.
12
       a Wyoming limited liability company,               WRIGHT
13     RICHARD WALDMAN, an individual, et
14     al.,                                               (Doc. Nos. 129, 130)
15                                    Defendants.
16
17           Pending before the Court are Anton Ewing’s Declaration and Kimberly A. Wright’s
18    Declaration. (Doc. Nos. 129, 130.) The Court did not request the filing of these declarations
19    and they are improper. Further, Mr. Ewing improperly relied upon an email that was
20    mistakenly sent to him containing attorney-client confidential information as the basis of
21    his declaration. Accordingly, the Court sua sponte STRIKES the declarations from the
22    record. Additionally, the Court ORDERS Mr. Ewing to no longer contact Ms. Wright on
23    this matter as she is no longer the attorney of record for Fast Advance Funding, LLC.
24    IT IS SO ORDERED.
25    Dated: July 25, 2019
26
27
28
                                                      1

                                                                                  18-cv-1063-AJB-AGS
